
In re Nobel Insurance Group et al.; Andrews Transport Inc.; Langley, Al-cide; — Defendant(s); applying for supervisory and/or remedial writs, Parish of Cal-casieu, 14th Judicial District Court Div. E, Nos. 97-8701; to the Court of Appeal, Third Circuit, No. W99-1846.
Granted. The trial court’s ruling on the motion in limine does not represent a clear abuse of the trial court’s great discretion in evidentiary matters. Accordingly, the judgment of the court of appeal is reversed, and the judgment of the trial court is reinstated. Case remanded to the trial court for further proceedings.
CALOGERO, C.J., not on panel.
LEMMON and JOHNSON, JJ., dissents from the order.
